

Matter of Countryman v Conley (2020 NY Slip Op 04070)





Matter of Countryman v Conley


2020 NY Slip Op 04070


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, CURRAN, BANNISTER, AND DEJOSEPH, JJ.


651 CAF 19-00415

[*1]IN THE MATTER OF WILLIS C. COUNTRYMAN, JR., PETITIONER-APPELLANT,
vMARY E. CONLEY, RESPONDENT-RESPONDENT. (APPEAL NO. 2.) 






PAUL B. WATKINS, FAIRPORT, FOR PETITIONER-APPELLANT.
TODD G. MONAHAN, LITTLE FALLS, FOR RESPONDENT-RESPONDENT. 
SCOTT A. OTIS, WATERTOWN, ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Jefferson County (Peter A. Schwerzmann, A.J.), entered November 28, 2018 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition seeking to modify a prior custody order. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: July 17, 2020
Mark W. Bennett
Clerk of the Court








